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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                              PLAINTIFF

v.                                 NO. 4:08CR00054-06 JLH

MARK DAVIS                                                                         DEFENDANT

                                            ORDER

       Mark Davis has filed a motion for early termination of probation. The United States must

respond to the motion, after conferring with the probation office, on or before September 26, 2014.

       IT IS SO ORDERED this 12th day of September, 2014.



                                                     _________________________________
                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE
